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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA             :     Hon. Kevin McNulty
                                     :
            v.                       :     Crim. No. 20-555
                                     :
                                     :
THOMAS MANZO                         :

                 SECOND AMENDED SCHEDULING ORDER

      This matter having come before the Court for entry of a scheduling order;

and the United States being represented by Philip R. Sellinger, United States

Attorney for the District of New Jersey (by Kendall Randolph, Assistant U.S.

Attorney and V. Grady O’Malley, Senior Litigation Counsel, appearing); and the

Defendant Thomas Manzo being represented by counsel (Amy Luria and

Michael Critchley, appearing); and, counsel for the Government and Defendant,

having met and conferred and having determined that this matter requires

extensive discovery within the meaning of paragraph 4 of this Court’s Standing

Order; and counsel for both parties having agreed on a schedule for the filing

and argument of pretrial motions; and the Court having accepted such

schedule, and for good cause shown,

      It is on this 11th day of February, 2022, ORDERED that:


      1.    The following shall be the schedule for pretrial motions in this

            matter, with the caveat that should the present COVID pandemic

            continue to impede the business operation of the parties and the

            Court, the Court and the parties can revisit the following dates:
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       a)   The Defendant shall file any and all pretrial motions, pursuant to

            Federal Rules of Criminal Procedure 12(b) and 41(h), in the manner

            set forth in L. Civ. R. 7.1, on or before September 2, 2022.

       b)   The Government shall file any response to the Defendant’s pretrial

            motions on or before September 23, 2022.

       c)   The Defendant shall file any reply on or before October 7, 2022.

       d)   Oral argument on pretrial motions shall be held on a date to be

            determined by the court.

      11.   Pursuant to paragraphs 17 to 21 of the Standing Order, the Court

shall, in consultation with the parties, schedule a final pretrial conference that

will be held no sooner than two (2) weeks following the disposition of pretrial

motions.

      12.   The date for trial is to be determined by the court.




                                      /s/ Kevin McNulty
                                     __________________________________________
                                     HONORABLE KEVIN MCNULTY
                                     United States District Judge




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